Sent by: BALLIN,BALLIN 81 FISH|V|AN, F’.C. 901525 6993; 03/03/05 12:45PM§]£[E8£_#21U]P3QE 4/4

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UNITEI) STATES OF AMERICA
v. No.: .04CR1[M]98 |
TERRY DICKERSON

 

 

ORDER GRANTING MOTION TO MODIFY CONDITIONS DF RELEASE

 

 

 

This cause came onto be heard upon the Motion to Modify Conditions ofRelease filed
by Counsel for Defendant, I_eslie I. Ballin. lt appearing to the Court that the Motion is well
taken and should be granted

1'11 IS THEREFORE, ORDERED, ADJUDGE`D AND DECR.EED, by this Court that the
conditions of curfew currently in effect be and are hereby modified and that the Defendant is
allowed to appear for work at the TigerMart in Lakeland, Tenneesee from the hours of 11;00 p.m.

to ?:00 a.m. 'I`hat the remaining conditions of the Defendant’s Order Setting Conditions of

A»QVM

IUDGE

_MSM
DATE

Release remain in effect as stated therein.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 1:04-CR-10098 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

Blake Ballin

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Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

